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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

       1) TREVOR LOHR,                                 JURY TRIAL DEMANDED
                                                       ATTORNEY LIEN CLAIMED

                         Plaintiff,
 v.                                                    Case No. CIV-17-1223-F

       1) PROTECTIVE INSURANCE
          COMPANY, an Indiana Corporation.

                         Defendant.

                                      AMENDED COMPLAINT

         COMES NOW Trevor Lohr by and through his counsel of record Ryan J. Fulda of Schaffer

Herring PLLC, and for his cause of action against Defendant Protective Insurance Company

(“Defendant Protective Insurance”), states as follows:

      1. Plaintiff Trevor Lohr is domiciled in Galveston County, Texas and is a citizen of Texas.

         Plaintiff lives in Texas and intends to remain in the state.

      2. Defendant Protective Insurance is a corporation incorporated in Indiana.

      3. The principal place of business of Defendant Protective Insurance is located in Carmel,

         Indiana.

      4. This is a complaint for breach of contract and bad faith claims handling relating to the

         rights and liabilities of the parties under a policy providing uninsured motorist coverage

         (Policy No. IL51-V00006944, the “Policy”) issued by Defendant Protective Insurance,

         under which Plaintiff Trevor Lohr was an insured.

      5. The amount in controversy exceeds $75,000.00 and the parties are diverse in citizenship;

         therefore, this court has Subject Matter Jurisdiction over the claims in dispute.
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6. The Plaintiff’s claims arise out of injuries he sustained in a motor vehicle accident. The

   motor vehicle accident occurred in Pauls Valley, Oklahoma, which is within the Western

   District of Oklahoma.

7. Plaintiff sought and received significant medical treatment for the injuries he sustained in

   the motor vehicle accident. This medical treatment occurred in Pauls Valley and the

   Oklahoma City Metro area – all within the Western District of Oklahoma.

8. A substantial part of the events giving rise to Plaintiff’s claims occurred in the Western

   District of Oklahoma. Therefore, venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                  FACTS RELEVANT TO CLAIMS FOR RELIEF

9. On November 21, 2014, Plaintiff Trevor Lohr was driving a Ford F-350 Truck for his

   employer, Trammel Transportation.

10. Trevor was driving in Pauls Valley, Oklahoma, in order to make deliveries for his

   employer.

11. The vehicle Trevor was driving was insured by the Policy, issued by Defendant Protective

   Insurance, which included uninsured motorist coverage with limits of $1,000,000.00 per

   person.

12. Trevor was driving westbound on W. Paul Ave.

13. At the same time, Annabel McGuire was driving a Ford F-250 eastbound on W. Paul Ave.,

   in the opposite lane of traffic.

14. As the two vehicles approached one another, Ms. McGuire’s vehicle turned left across

   Trevor’s lane of traffic, and struck Trevor’s vehicle.

15. The Official Oklahoma Traffic Collision Report documented that Ms. McGuire’s vehicle

   failed to yield to Trevor’s vehicle.




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16. Ms. McGuire was at fault for the accident, and Trevor was legally entitled to recover

   damages for injuries sustained in the accident.

17. The impact was significant. The Ford F-350 driven by Trevor was deemed to be a total

   loss.

18. Ms. McGuire carried automobile liability insurance, with liability limits of $50,000 per

   person.

19. Trevor sustained serious injuries as a result of the accident, including a concussion, and

   was transported via ambulance to Pauls Valley Hospital.

20. At Pauls Valley Hospital, Trevor was treated for various injuries sustained in the accident.

   He was later driven home by a friend.

21. Later that evening, Trevor continued to experience significant pain relating to injuries from

   the accident. His fiancé Lacey Bronas drove him to Integris Hospital in Oklahoma City.

22. At Integris Hospital in Oklahoma City, Trevor complained of worsening pain in his lower

   back and the right side of his chest.

23. In the following days, Trevor had significant unresolved neck, back, and wrist pain. He

   sought medical treatment, but the issues did not resolve.

24. Trevor was 22-years-old at the time, and had never experienced any back pain like this

   before.

25. After more than one year of conservative treatment, Trevor underwent a posterior lumbar

   interbody fusion in January of 2016.

26. Meanwhile, Trevor hired attorney Bryan Irons to represent him in his personal injury claim

   arising out of the November 21, 2014 accident.




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27. Attorney Irons placed Defendant Protective Insurance on notice of the accident and

   Trevor’s injuries, and requested payment of benefits under the policy of underinsured

   motorist coverage (the “UIM Claim”).

28. Defendant Protective Insurance assigned the UIM Claim to claims adjuster Brian Reeves

   (Adjuster Reeves).

29. On August 7, 2015, Adjuster Reeves wrote Mr. Irons and advised:

          As I am sure you are aware, we are the UIM carrier in this matter. It is our
          understanding the underlying liability claim has not been resolved with the
          tort carrier, Shelter Insurance, therefore we must respectfully decline your
          demand at this time.

30. Regarding a UM Carrier’s duty to evaluate a claim for UM benefits, the Oklahoma

   Supreme Court held in 1991:

          If the claim exceeds the amount available under the liability policy, the
          underinsurer must take prompt action to determine what payment is due and
          may not delay the payment of benefits until exhaustion of liability limits.
          The underinsurer may not safely await settlement between the liability
          insurer and the insured. Instead, the insurer must go about the business
          of investigating and evaluating the claim. An insurer is readily equipped
          to make such a determination, and to assign a dollar value to the claim. Once
          this is accomplished, if the insurer determines that the claim does not exceed
          liability limits, and such valuation is supported by reasonable evidence, the
          underinsurer may delay payment. However, if the underinsurer does not
          conduct an investigation, or after investigation, determines that the likely
          worth of the claim exceeds the liability limits, prompt payment must be
          offered. (Emphasis added), Buzzard v. Farmers Ins. Co., 1991 OK 127, ¶
          824 P.2d 1105.

31. This holding has been reiterated numerous times by the Oklahoma Supreme Court, and is

   firmly established Oklahoma law.

32. Despite the fact that the Oklahoma Supreme Court held that the “underinsurer may not

   safely await settlement between the liability insurer and the insured”, this is precisely what




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   Defendant Protective Insurance did, as communicated in Adjuster Reeves’ letter of August

   7, 2015.

33. Additionally, Defendant Protective Insurance treated Trevor as a third-party claimant to

   whom it owed no duty of good faith and fair dealing.

34. Defendant Protective Insurance argued unreasonable and unsupported positions in

   evaluating Trevor’s claim.

35. For example, Defendant Protective Insurance argued Trevor’s back injuries were not

   caused by the November 21, 2014 accident, but instead were caused by a work accident of

   July 31, 2015, in which a box of glass bottles fell on the ground, shattered, and caused cuts

   to Trevor’s face.

36. Defendant Protective Insurance’s position was unreasonable because Trevor’s medical

   records did not support this claim. Defendant Protective Insurance was fabricating excuses

   not to pay Trevor’s UIM Claim.

37. Defendant Protective Insurance treated Trevor as a third-party claimant to whom it owed

   no duty of good faith and fair dealing.

38. The Oklahoma Supreme Court has held that a UM/UIM insurer may not treat its own

   insured in the manner in which an insurer may treat third-party claimants to whom it owes

   no duty of good faith and fair dealing. Newport v. USAA, 2000 OK 59, ¶15, 11 P.3d 1991.

39. Defendant Protective Insurance failed to investigate the UIM Claim, as evidenced by the

   unreasonable positions it took which were unsupported by any evidence.

40. Had Defendant Protective Insurance performed a reasonable investigation of the UIM

   Claim, it would have determined it owed UIM benefits to Trevor.




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   41. Under Oklahoma Law, a UIM insurer has a duty to promptly investigate a claim. See

       Buzzard at ¶30, Newport at ¶15.

   42. Trevor has undergone multiple back surgeries for injuries caused by the accident. He has

       also incurred hundreds of thousands of dollars in damages, including significant medical

       expenses, significant lost wages, future medical expenses, and permanent impairment.

   43. Defendant Protective Insurance has refused to pay any UIM benefits to Trevor.

   44. In doing so, Defendant Protective Insurance has breached the Policy and acted

       unreasonably and in bad faith in the handling of Trevor’s UIM Claim.

                FIRST CLAIM FOR RELIEF: BREACH OF CONTRACT

   45. Plaintiff incorporates the above paragraphs by reference.

   46. Trevor is an insured under the Policy and is contractually entitled to UIM benefits.

   47. Defendant Protective Insurance is in breach of contract for failure to pay UIM benefits.

   48. Trevor has been damaged as a result of Defendant Protective Insurance’s breach of the

       Policy because he has been denied benefits for medical expenses, pain and suffering, lost

       wages, and permanent impairment.

   WHEREFORE, Plaintiff Trevor Lohr requests judgment against Defendant Protective

Insurance on his claim for breach of contract, and seeks damages in excess of $75,000.00.

     SECOND CLAIM FOR RELIEF: BAD FAITH HANDLING OF A UIM CLAIM

   49. Plaintiff incorporates the above paragraphs by reference.

   50. Trevor is an insured under the Policy and is contractually entitled to UIM benefits.

   51. Defendant Protective Insurance owed Trevor a duty of good faith and fair dealing.

   52. Upon receipt of the UIM Claim, Defendant Protective Insurance had a duty to promptly

       investigate the claim and determine whether it owed payment for UIM benefits.




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53. Instead of promptly investigating the claim, Defendant Protective Insurance

   misrepresented Oklahoma law, and advised Plaintiff it was not required to evaluate

   Plaintiff’s UIM Claim until Plaintiff settled his claim with the tortfeasor.

54. Defendant Protective Insurance acted unreasonably and in bad faith by misrepresenting

   Oklahoma law.

55. Additionally, Defendant Protective Insurance acted unreasonably and in bad faith by

   failing to perform a prompt and reasonable investigation of Trevor’s claim.

56. Upon receipt of the UIM Claim, Defendant Protective Insurance owed Plaintiff a duty of

   good faith and fair dealing, and owed a duty to treat Plaintiff as a first-party insured, and

   not an adverse third-party insured.

57. Defendant Protective Insurance breached this duty and acted unreasonably and in bad faith

   by taking positions that were unsupported by the evidence.

58. Defendant Protective Insurance’s gross and blatant disregard for a UM/UIM insurer’s

   duties owed to Plaintiff, its first-party insured, demonstrate a lack of education, training,

   and supervision of its adjusters as to Oklahoma law and the adjustment of UM claims.

59. Defendant Protective Insurance acted unreasonably and in bad faith by failing to properly

   educate, train, and supervise its adjusters with respect to Oklahoma law, and the adjustment

   of UM claims.

60. Trevor has been damaged as a result of Defendant Protective Insurance’s unreasonable and

   bad faith claims handling breach of the Policy because he has been denied benefits for

   medical expenses, pain and suffering, lost wages, permanent impairment, and future

   medical expenses.




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   61. Additionally, Trevor has incurred stress, embarrassment, mental and emotional pain and

       suffering as a result of Defendant Protective Insurance’s failure to pay benefits owed.

   62. Trevor seeks punitive damages to punish Defendant Protective Insurance for its

       unreasonable and bad faith handling of the UIM claim.

   WHEREFORE, Plaintiff Trevor Lohr requests judgment against Defendant Protective

Insurance on his claim for bad faith claims handling, and seeks actual damages in excess of

$75,000.00, as well as punitive damages.

                                                    Respectfully submitted,

                                                    SCHAFFER HERRING PLLC


                                                    s/ Ryan J. Fulda_______________
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